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                            UNITED STATES DISTRICT COURT
                             THE DISTRICT OF MARYLAND


JUDY JIEN, et al.,                                    Civil Action No. SAG-19-2521

                                 Plaintiffs,

                      v.

PERDUE FARMS, INC., et al.,

                                 Defendants.


  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
 APPROVAL OF THE SETTLEMENTS BETWEEN PLAINTIFFS AND DEFENDANTS
     ALLEN HARIM FOODS, LLC, AMICK FARMS, LLC, BUTTERBALL, LLC,
   FIELDALE FARMS CORPORATION, FOSTER POULTRY FARMS, JENNIE-O
  TURKEY STORE, INC., KOCH FOODS, INC., O.K. FOODS, INC, TYSON FOODS,
 INC., AND KEYSTONE FOODS, LLC, CERTIFICATION OF SETTLEMENT CLASS,
           AND APPOINTMENT OF SETTLEMENT CLASS COUNSEL


       Upon consideration of Plaintiffs’ motion for preliminary approval of the settlements with

Allen Harim Foods, LLC, Amick Farms, LLC, Butterball, LLC, Fieldale Farms Corporation,

Foster Poultry Farms, Jennie-O-Turkey Store, Inc. Koch Foods, Inc., O.K. Foods, Inc, Tyson

Foods Inc., Keystone Foods, LLC, certification of settlement class, and appointment of

settlement class counsel, it is hereby ORDERED as follows:

       1.      The motion is hereby GRANTED.

       2.      The Court finds that the proposed settlements with Allen Harim Foods, LLC,

Amick Farms, LLC, Butterball, LLC, Fieldale Farms Corporation, Foster Poultry Farms, Jennie-

O-Turkey Store, Inc. Koch Foods, Inc., O.K. Foods, Inc, Tyson Foods Inc., Keystone Foods,

LLC (collectively, Settling Defendants), as set forth respectively in nine written settlement

agreements between Plaintiffs and Settling Defendants (Settlement Agreements), have been




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negotiated at arm’s length and are sufficiently fair, reasonable, and adequate to authorize

dissemination of notice of the Settlement Agreements to the Settlement Classes defined below.

        3.     Terms used in this Order that are defined in the Settlement Agreements are, unless

otherwise defined herein, used as defined in the Settlement Agreements.

        4.     The Court hereby certifies the following Settlement Classes for the purpose of the

Settlement Agreements:

        All persons employed by Defendant Processors, 1 their subsidiaries, and/or related
        entities at poultry processing plants, poultry hatcheries, poultry feed mills, and/or
        poultry complexes in the continental United States from January 1, 2000 until July
        20, 2021.

        5.     The Settlement Classes exclude complex managers, plant managers, human

resources managers, human resources staff, office clerical staff, guards, watchmen, and

salespersons of the Defendants, alleged co-conspirators, and any of their subsidiaries,

predecessors, officers, or directors; and federal, state, or local governmental entities.

        6.     The Court finds that the Settlement Class fully complies with the requirements of

Federal Rule of Civil Procedure 23. Specifically, the Court finds (1) that the Settlement Classes

are so numerous that joinder of all members is impracticable; (2) there are questions of law or

fact common to the Settlement Classes; (3) the claims of the named plaintiffs are typical of the

claims of the Settlement Classes; and (4) the named plaintiffs will fairly and adequately protect

the interests of the Settlement Classes. Additionally, the Court finds that questions of law or fact

common to the Settlement Class predominate over any questions that may affect only individual

members, and that a class action is superior to all other available methods for fairly and

efficiently adjudicating the controversy.


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   The term “Defendant Processors” refers to all Defendants except Agri Stats, Inc., and
Webber, Meng, Sahl and Company, Inc. d/b/a WMS & Company, Inc.



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       7.      The Court appoints the following named plaintiffs as class representatives of the

Settlement Class: Judy Jien, Kieo Jibidi, Elaisa Clement, Glenda Robinson, Emily Earnest, and

Kevin West.

       8.      The Court appoints the following law firms (which currently serve as Interim Co-

Lead Counsel) as Settlement Class Counsel: Hagens Berman Sobol Shapiro LLP, Handley Farah

& Anderson PLLC, and Cohen Milstein Sellers & Toll, PLLC.

       9.      The Court appoints A.B. Data, Ltd., as the Notice and Claims Administrator with

respect to the Settlement Agreements.

       10.     After Settlement Class Notice has been approved and disseminated, the Court

shall hold a hearing (the Fairness Hearing) regarding the Settlement Agreements to determine

whether they are fair, reasonable, and adequate and whether they should be finally approved by

the Court.

       11.     After Settlement Class Notice has been disseminated, members of the Settlement

Classes who wish to exclude themselves from the Settlement Classes will be required to submit

an appropriate and timely request for exclusion, and members of the Settlement Classes who

wish to object to the Settlement Agreements will be required to submit an appropriate and timely

written statement of the grounds for objection. Members of the Settlement Class who wish to

appear in person to object to the Settlement Agreements may do so at the Fairness Hearing

pursuant to directions by the Court.

       12.     If the Settlement Agreements are terminated or rescinded in accordance with their

provisions, then the terminated or rescinded Settlement Agreements shall become null and void,

except insofar as expressly provided otherwise in that Settlement Agreement, and without

prejudice to the status quo ante rights of Plaintiffs, Settling Defendants, and the members of the




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Settlement Classes. The parties shall also comply with any terms or provisions of the terminated

or rescinded Settlement Agreement applicable to termination, rescission, or the Settlement

Agreement otherwise not becoming final.

       13.     The Court approves the establishment of an escrow account, as set forth in the

Settlement Agreements, as a “Qualified Settlement Fund” pursuant to Treas. Reg. § 1.468B-1.

The Court retains continuing jurisdiction over any issues regarding the formation or

administration of the escrow account. Settlement Class Counsel and their designees are

authorized to expend funds from the escrow account to pay taxes, tax expenses, and notice and

administration costs, as set forth in the Settlement Agreements.

       14.     This litigation is hereby stayed as to the Released Parties (as that term is defined

in the Settlement Agreements) except as necessary to effectuate the Settlement Agreements or

otherwise agreed to by the settling parties.


IT IS SO ORDERED.


DATED: ___________________

                                               HON. STEPHANIE A. GALLAGHER
                                               UNITED STATES DISTRICT JUDGE




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